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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NICHOLAS KELLER,                                       )
                                                       )
       Plaintiff,                                      )       No. 21-cv-4320
                                                       )
       v.                                              )
                                                       )
CITY OF CHICAGO, and                                   )
JOHN DOE CHICAGO                                       )
POLICE OFFICERS,                                       )
                                                       )
       Defendants.                                     )       Jury Demand

                                           COMPLAINT

      1.       In the summer of 2020, Plaintiff Nicholas Keller, as well as thousands of

organizers, activists, and community leaders in Chicago, mobilized in a repudiation of anti-Black

racism, white supremacy, police violence, and mass criminalization and incarceration. Millions

have joined demonstrations around the globe—often lifting up the names of George Floyd,

Breonna Taylor, Tony McDade, and scores of other Black people killed by police.

      2.       The Chicago Police Department (“CPD”) and other City agencies have responded

to these demonstrations with brutal, violent, and unconstitutional tactics that are clearly intended

to injure, silence, and intimidate Plaintiff Keller and other protesters.

      3.       As explained in more detail below, Plaintiff Keller was assaulted by CPD Officers

while he posed no threat to anyone, interfering with Plaintiff’s constitutional rights.

      4.       CPD’s unconstitutional actions have caused Plaintiff significant harm, including

the violation of his constitutional rights as well as physical, emotional, and mental injuries.

                                 JURISDICTION AND VENUE

      5.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a).




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       6.      Venue is proper in this district under 28 U.S.C. § 1391(b) because the events

giving rise to the claims asserted in this complaint occurred in this judicial district.

                                              PARTIES

       7.      Plaintiff Nicholas Keller is a 24-year-old white resident of Chicago, Illinois who

uses he/him pronouns.

       8.      Defendant City of Chicago is and at all times mentioned herein was a

municipality organized and operating under the statutes of the State of Illinois. It is authorized

under the statutes of the State of Illinois to maintain the Chicago Police Department, which acts

as the City’s agent in the areas of municipal law enforcement, and for which the City is

ultimately responsible. Defendant City was, at all times material to this Complaint, the employer

and principal of the Defendant Officers.

       9.      Defendant John Doe Chicago Police Officers are City of Chicago employees with

the CPD. At all times relevant to the events at issue in this case, these defendants were acting

under color of law and within the scope of their employment with the CPD. They are sued in

their individual capacity for violating Plaintiff’s rights under the U.S. Constitution and Illinois

state law.

                                   FACTUAL ALLEGATIONS

       10.     On May 25, 2020, Minneapolis police officers murdered George Floyd when they

suffocated him to death while he was handcuffed in a prone position on the ground in broad

daylight on the street. Floyd’s murder and the police murder of Breonna Taylor in her home in

Louisville, Kentucky, in addition to recent police murders of too many other Black people

throughout the United States, sparked the largest movement for justice in the history of the




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United States and has included protests around the world against anti-Black police violence,

white supremacy, systemic racism, and inequality.

         11.    On June 1, 2020, at approximately 5:00 p.m., Plaintiff Nicholas Keller joined a

protest at North Broadway and West Wilson Avenue in front of a Target store. Plaintiff Keller

watched speeches and then started walking with other protesters down Lake Shore Drive.

         12.    At approximately 8:15 p.m., Plaintiff began to walk back toward North Broadway

and West Wilson Avenue, arriving at approximately 8:45 p.m., where he gathered with other

protesters. At this point, the number of protestors had dwindled.

         13.    At approximately 9:00 p.m., numerous Chicago police officers began aggressively

advancing toward the protesters including Plaintiff without giving any warning or dispersal

order.

         14.    Plaintiff witnessed numerous Chicago police officers push protesters to the

ground and hit them with batons.

         15.    Plaintiff ran over to assist a protester who was lying on the ground being beaten

by several Chicago police officers with batons.

         16.    Two unidentified Chicago police officers then struck Plaintiff with their batons on

his body and knocked him to the ground.

         17.    After he was knocked to the ground, Plaintiff curled his body into the fetal

position to protect himself from further blows.

         18.    While he was lying on the ground in the fetal position, not posing a threat to

anyone, the unidentified Chicago police officers struck Plaintiff between 5 and 10 more times on

the right side of his body with their batons, smashing his cell phone which was in his pocket and

causing serious pain and injury to his leg.




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       19.      While these unidentified Chicago Police Officers were striking Plaintiff on the

ground, other unidentified Chicago police officers had the ability and opportunity to intervene to

stop the other officers from beating Plaintiff and failed to do so.

       20.      As a direct and proximate result of the Defendant Officers’ actions as detailed

above, Plaintiff suffered and continues to suffer, inter alia, bodily injuries to his leg, head, and

the right side of his body, for which he received emergency medical treatment, as well as pain

and suffering, extreme mental distress, anguish, and fear.

                                  COUNT I – 42 U.S.C. § 1983
                     Violation of the Fourth Amendment – Excessive Force

       21.      Each paragraph of this Complaint is incorporated as if restated fully herein.

       22.      The actions of the Defendant Officers described above constituted unreasonable

and excessive force, without legal cause, in violation of Plaintiff’s rights under the Fourth and

Fourteenth Amendments to the United States Constitution.

       23.      The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiff’s clearly established

constitutional rights.

       24.      The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiff’s constitutional rights, bodily injury, pain, suffering, mental distress,

anguish, humiliation, and loss of personal freedom, as set forth more fully above.

                             COUNT II – 42 U.S.C. § 1983
 Violation of the First Amendment – Freedom of Speech and Assembly, Intimidation and
                               Retaliatory Use of Force

       25.      Each paragraph of this Complaint is incorporated as if restated fully herein.

       26.      As described in detail above, Plaintiff participated in lawful, constitutionally

protected activity on the public streets of the City of Chicago.



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       27.      The actions of the Defendant Officers described above violated Plaintiff’s rights

to freedom of speech and assembly guaranteed by the First and Fourteenth Amendments to the

United States Constitution, in that Plaintiff was abruptly prevented from further exercising his

rights and suffered retaliation for having exercised his rights.

       28.      The Defendant Officers retaliated against Plaintiff for engaging in protected

speech by subjecting him to excessive force without legal justification. Plaintiff’s protected

speech was the substantial and motivating factor for the Defendant Officers’ use of force against

him. The Defendant Officers’ actions were intended to make Plaintiff and other people engaging

in constitutionally-protected speech at the protests wary of continuing to engage in such

protected activities in the future and specifically to chill their rights guaranteed under the First

Amendment.

       29.      At all relevant times, the Defendant Officers were aware that Plaintiff was

engaged in constitutionally-protected speech when they violated his rights. The misconduct

described in this Count was objectively unreasonable and was undertaken intentionally, with

malice and knowing disregard for Plaintiff’s clearly established constitutional rights.

       30.      The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiff’s constitutional rights, bodily injury, pain, suffering, mental distress,

anguish, humiliation, and loss of personal freedom, as set forth more fully above.

                                  COUNT III – 42 U.S.C. § 1983
                                     Failure to Intervene

       31.      Each paragraph of this Complaint is incorporated as if restated fully herein.

       32.      During the events described above, the Defendant Officers stood by without

intervening to prevent the violation of Plaintiff’s constitutional rights under the First, Fourth, and

Fourteenth Amendments, even though they had the opportunity and duty to do so.



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       33.       The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiff’s clearly established

constitutional rights.

       34.       As a direct and proximate result of the Defendant Officers’ failure to intervene,

Plaintiff suffered damages, including bodily injury, pain, suffering, mental distress, anguish,

humiliation, loss of personal freedom, , as set forth more fully above.

                                            COUNT IV
                                          Indemnification

       35.       Each paragraph of this Complaint is incorporated as if restated fully herein. Count

V is alleged against Defendant City of Chicago.

       36.       In Illinois, pursuant to 735 ILCS 10/9-102, public entities are directed to pay any

tort judgment for compensatory damages for which employees are liable within the scope of their

employment activities.

       37.       The Defendant Officers acted within the scope of their employment in committing

the misconduct described herein. Therefore, Defendant City of Chicago is liable as their

employer for any resulting damages or award of attorney’s fees.

                                     REQUEST FOR RELIEF

        WHEREFORE, Plaintiff requests that this Court enter judgment in his favor against the

Defendants in the following manner:

        1.       Award Plaintiff compensatory and punitive damages.

        2.       Award Plaintiff reasonable attorneys’ fees, costs, and expenses pursuant to 42

U.S.C. § 1988.

        3.       Award Plaintiff such other and further relief as this Court may deem appropriate

and just.



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                                         JURY DEMAND

      Plaintiff demands trial by jury.



Dated: August 13, 2021                            Respectfully submitted,


                                                  /s/ Ben H. Elson
                                                  Ben H. Elson

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